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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


    EXELIXIS, INC.,

                                  Plaintiff,

                   v.                                        C.A. No. 19-2017 (RGA) (SRF)
                                                                     (Consolidated)
    MSN LABORATORIES PRIVATE LIMITED and
    MSN PHARMACEUTICALS, INC,

                                  Defendants.



                        MSN’S OPENING POST-TRIAL FINDINGS OF FACT



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   I.      BACKGROUND

           A.      Parties

           1.      Exelixis brought actions for patent infringement against MSN Laboratories and

   MSN Pharmaceuticals. D.I. 270-1 (Uncontested Facts) at ¶ 1.

           2.      Exelixis is a corporation organized and existing under the laws of the State of

   Delaware, with its principal place of business at 1851 Harbor Bay Parkway, Alameda, CA 94502.

   Id. at ¶ 2.

           3.      MSN Laboratories is a corporation organized and existing under the laws of India,

   having its principal place of business at MSN House, Plot No: C-24, Industrial Estate, Sanath

   Nagar, Hyderabad, Telangana, India, 500018. Id. at ¶ 3.

           4.      MSN Pharmaceuticals is a corporation organized and existing under the laws of the

   State of Delaware, having its principal place of business at 20 Duke Road, Piscataway, NJ 08854.

   Id. at ¶ 4. MSN Pharmaceuticals is a wholly owned subsidiary of MSN Laboratories. Id. at ¶ 5.

           B.      The ’473 Patent

           5.      The ’473 patent is titled “c-Met Modulators and Methods of Use” and was duly and

   legally issued on August 25, 2009 and expires on August 14, 2026. D.I. 270-1 (Uncontested Facts)

   at ¶¶ 12, 14.

           6.      MSN does not dispute that Exelixis owns the ’473 patent. Id. at ¶ 13.

           7.      Exelixis has asserted claim 5 of the ’473 patent against MSN. Id. at ¶ 15.

           8.      Claim 5 of the ’473 patent recites the compound cabozantinib or its

   pharmaceutically acceptable salt. Id. at ¶¶ 16-17, 19; JTX-3.208.

           9.      The priority date for claim 5 of the ’473 patent is September 26, 2003. D.I. 270-1

   (Uncontested Facts) at ¶ 22.




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           10.     Claim 5 does not recite any properties of cabozantinib. Lepore Tr. at 410:17-19;

   MacMillan Tr. at 729:18-22.

           11.     Cabozantinib includes a geminal cyclopropyl substituted malonamide group.

   Lepore Tr. at 411:7-20; MacMillan Tr. at 670:4-19, 671:6-13.

           12.     Cabozantinib inhibits certain tyrosine kinases, including c-Met. Lepore Tr. at

   410:20-411:6; MacMillan Tr. at 668:11-16.

   II.     LEVEL OF ORDINARY SKILL IN THE ART

           13.     The definition of a POSA applied by MSN’s experts for the purposes of the asserted

   claim 5 of the ’473 patent-in-suit is provided in Paragraph 24 of the Uncontested Facts Exhibit to

   the Final Pretrial Order. D.I. 270-1.

           14.     The definition of a POSA applied by Exelixis’s experts is provided in Paragraph

   23 of the Uncontested Facts Exhibit to the Final Pretrial Order. D.I. 270-1.

           15.     The opinions offered by each side’s experts do not change based on which of the

   above definitions of a POSA is applied. Lepore Tr. at 412:19-22; Mega Tr. at 519:1-14; MacMillan

   Tr. at 664:4-6; George Tr. at 537:24-538:1.

   III.    TECHNICAL BACKGROUND

           A.      Cancer Drug Development

           16.     The prior art taught several molecular defects leading to cancer. Mega Tr. at 520:5-

   17; DTX-66.1.

           17.     As the Oliff reference explained, knowledge of these molecular defects enabled

   researchers to develop targeted therapies for treating cancer. Mega Tr. at 520:18-521:5; DTX-

   66.1.

           18.     Defective or aberrant tyrosine kinases were known to cause various cancers. Mega

   Tr. at 522:11-13.


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          19.      The prior art taught that tyrosine kinases were attractive and “druggable” targets

   for cancer drug development. Mega Tr. at 522:14-523:9; DTX-17.1-2.

          20.      Before September 2003, many companies were pursuing TKIs to develop cancer

   therapeutics. MacMillan Tr. at 730:11-14; Geroge Tr. at 591:6-11.

          21.      A spectrum selective TKI is an inhibitor that targets and inhibits more than one

   tyrosine kinase. Mega Tr. at 524:24-525:5.

          22.      Gleevec was one of the earlier spectrum selective TKIs that received FDA approval

   before September 2003 and turned a lethal cancer (chronic myelogenous leukemia) to a treatable

   one. Mega Tr. at 523:11-524:3; George Tr. at 565:9-15, 591:19-592:5; DTX-17.2, 3 (Table 2). The

   approval of Gleevec was an exciting time in the medical field, because it was the first time there

   was clinical evidence of successfully treating a cancer by targeting a specific defective tyrosine

   kinase. George Tr. at 592:6-13. Gleevec’s success motivated researchers to look for more TKIs

   for treating other cancers. George Tr. at 592:14-17.

          23.      Other TKIs received approval as cancer treatments shortly thereafter, George Tr. at

   592:18-21, and a number of other TKIs were in development. For example, by September 2003,

   Herceptin had been approved to treat breast cancer. George Tr. at 564:17-20. Other small molecule

   TKIs, including Iressa and Tarceva, had been approved to treat cancer, or were in phase III clinical

   trials as of the 2003 publication of the prior art Traxler paper. DTX-17.3 (Table 2); George Tr. at

   565:24-566:7.

          24.      By September 2003, most of the compounds in clinical development for treatment

   of cancer were spectrum selective TKIs. Mega Tr. at 525:6-526:12; DTX-17.3 (Table 2); George

   Tr. at 591:12-15.




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          25.     The NCCN is a consortium of cancer centers and institutions that send

   representatives for various disease states to review data and then provide guidelines for treatment

   options for various cancers, such as RCC. Mega Tr. at 789:4-15; George Tr. at 545:19-546:2. They

   are foundational in providing care to cancer patients and are integral to medical education. Mega

   Tr. at 789:16-22; George Tr. at 547:19-25.

          26.     Different treatment options are categorized in two different ways. Mega Tr. at

   790:17-791:18; DTX-118.27. The treatment options are differentiated (i) based on the level of

   evidence and consensus that supports the Guideline’s recommendations, as indicated by numbers

   1, 2A, 2B, and 3, and (ii) based on the level of preference, as indicated by “Preferred intervention,”

   “Other recommended interventions,” and “Useful in certain circumstances”. Mega Tr. at 790:17-

   791:18; DTX-118.27.

          27.     Category 1 represents highest level of evidence and uniform NCCN consensus

   (85% or higher) that the intervention is appropriate. Mega Tr. at 790:17-791:18; DTX-118.27.

   Category 2 represents lower level of evidence, with 2A representing 85% or higher NCCN

   consensus, and 2B representing between 50-85% consensus, that the intervention is appropriate.

   Mega Tr. at 790:17-791:18; DTX-118.27.

          28.     The level of preference in the NCCN Guidelines are determined based on factors

   such as efficacy, safety, toxicity, affordability, accessibility, and the level of evidence for each

   intervention. Mega Tr. at 790:17-791:18; DTX-118.27.

          B.      Small Molecule Drug Design

          29.     As of September 2003, drugs were designed starting from lead compounds with

   promising properties. Lepore Tr. at 413:10-25; DTX-14.50; MacMillan Tr. at 726:7-24.




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           30.     A POSA would have then worked on optimizing the lead compound’s properties,

    including potency and oral bioavailability, while minimizing toxicity. Lepore Tr. at 413:18-25,

    414:13-23, 418:22-419:5; DTX-14.50; MacMillan Tr. at 666:4-15, 726:25-727:3, 742:20-24.

           31.     A POSA would have measured a compound’s potency by determining the

    concentration at which the compound inhibits 50% of the target, i.e., the IC50 value. Lepore Tr. at

    415:1-14; McMillan Tr. at 666:22-667:2.

           32.     A more potent compound has a smaller IC50 value. Lepore Tr. at 415:1-14;

    MacMillan Tr. at 667:3-8.

           33.     Before September 2003, oral bioavailability was known as one of the most desirable

    attributes of a drug candidate. Lepore Tr. at 415:15-416:11; DTX-22.2.

           34.     To predict a compound’s oral bioavailability, the prior art disclosed a popular,

    simple, and descriptive method called “Rule of 5,” developed by Lipinski. Lepore Tr. at 415:20-

    416:11; DTX-22.2; MacMillan Tr. at 752:5-17. The popularity of Lipinski’s Rule of 5 is reflected

    in the number of times it has been cited by others in the field: hundreds of times before September

    2003, and thousands of times by 2021. Lepore Tr. at 417:12-418:3; MacMillan Tr. at 752:15-17.

           35.     The Rule of 5 sets forth four criteria for predicting a compound’s oral

    bioavailability. Lepore Tr. at 416:12-417:3; DTX-20.7.

           36.     Using the Rule of 5 would have been within the skill of a POSA. MacMillan Tr. at

    751:14-17; Lepore Tr. at 416:12-417:11.

           37.     As implemented at Pfizer at the time, when a medicinal chemist registered a new

    compound, a computer-generated alert would notify the medicinal chemist that the compound

    might be poorly orally bioavailable if two out of the four criteria fell outside the limits set by the

    Rule of 5. Lepore Tr. at 418:4-13; DTX-20.7.




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           38.    Adding an oxygen atom (O) to water (H2O) to obtain hydrogen peroxide (H2O2)

    changes the compound’s properties. MacMillan Tr. at 668:1-10. But this is not a small change, as

    Dr. MacMillan agreed this change nearly doubles the molecular weight of the compound.

    MacMillan Tr. at 730:5-9.

           C.     Irreversible Inhibitors

           39.    Drugs may inhibit their biological targets reversibly or irreversibly. Lepore Tr. at

    419:10-17; MacMillan Tr. at 712:23-713:19. When an irreversible inhibitor binds to its target, it

    forms a covalent bind with the target, and thus it would inhibit the target in a permanent

    way. Lepore Tr. at 419:10-420:24; MacMillan Tr. at 712:23-713:19. When a reversible inhibitor

    binds to its target, it can come off the target, and thus the inhibition would not be

    permanent. Lepore Tr. at 419:10-420:24; MacMillan Tr. at 712:23-713:19.

           40.    The prior art disclosed several advantages of irreversible inhibitors. Lepore Tr. at

    420:25-421:3. For example, the Silverman textbook taught that smaller and fewer doses were often

    needed to achieve the same effect when using irreversible inhibitors compared to reversible

    inhibitors. Lepore Tr. at 421:4-23; DTX-13.194.

           41.    Dr. MacMillan agreed that a POSA would have understood that developing an

    irreversible inhibitor would be “wonderful”. MacMillan Tr. at 731:15-20.

           42.    Irreversible TKIs were in phase 2 clinical trials before September 2003. Lepore Tr.

    at 423:4-424:5; DTX-17.3 (Table 2); Geroge Tr. at 591:16-18.

           43.    The prior art taught the potential advantageous properties of irreversible TKIs over

    reversible TKIs, e.g., minimizing multiple dosing requirements, fewer nonspecific interactions,

    and reduced toxicity. Lepore Tr. at 421:24-422:24, 424:6-13; DTX-30.5.




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           D.      Cyclopropane And Cyclopropyl Containing Compounds

           44.     Cyclopropyl is a three-carbon ring, which is the smallest ring that can be formed.

    Lepore Tr. at 424:14-425:2; MacMillan Tr. at 760:21-761:1.

           45.     The prior art taught compounds containing a cyclopropyl group were of great

    general interest to synthetic and bioorganic chemists as they had a variety of biological properties,

    including antitumor properties. Lepore Tr. at 425:8-426:5; DTX-28.2.

    IV.    CLAIM 5 WOULD HAVE BEEN OBVIOUS IN VIEW OF THE PRIOR ART

           A.      A POSA Would Have Been Motivated To Look For c-Met Inhibitors

           46.     It is undisputed that by September 2003, a POSA would have been motivated to

    develop therapies that target and inhibit c-Met for treating cancer. Lepore Tr. at 463:18-24; Mega

    Tr. at 529:3-17; George Tr. at 594:17-19.

           47.     There is no dispute that the prior art disclosed c-Met as one of the tyrosine kinases

    under evaluation for drug development for treating renal cancer. Mega Tr. 526:22-527:8; DTX-

    17.2 (Table 1); MacMillan Tr. at 732:7-9; George Tr. at 596:2-18.

           48.     Dr. Geroge agreed that Shawver discussed c-Met as a new therapeutic target for

    cancer treatment and that “[c]linically, HGF/Met overexpression has been shown to correlate with

    poor prognosis in several types of cancer.” George Tr. at 599:18-600:7, 600:20-22; DTX-39.5.

           49.     Maulik taught mutations (or molecular defects) in c-Met were well described in

    certain human cancers. Mega Tr. at 528:6-25; DTX-37.2.

           50.     Dr. George agreed that Maulik taught inhibitors of the c-Met pathway “have drawn

    much interest.” George Tr. at 602:3-6; DTX-37.15.

           51.     It is undisputed that c-Met was known in the art as “an attractive target for

    molecularly targeted therapy in a variety of solid tumors and hematological malignancies and




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    designs of small molecule inhibitors and antibodies against c-Met would be clinically useful.”

    Mega Tr. at 529:1-10; DTX-37.16; George Tr. at 603:20-604:9.

           52.    The Kirin Publication would have further motivated a POSA to look for c-Met

    inhibitors because it taught c-Met inhibitors could be useful as antitumor agents. Lepore Tr. at

    428:22-430:9; DTX-6.4. Dr. MacMillan agreed. MacMillan Tr. at 675:18-21; 732:19-733:6.

           53.    Dr. MacMillan agreed that the Kirin Publication disclosed small molecules that

    inhibit c-Met, including potent c-Met inhibitors with potent antitumor activity. McMillan Tr. at

    675:18-21, 732:19-733:6.

           54.    It is undisputed that the motivation to develop new TKIs extended beyond targeting

    Her2, EGFR, VEGFR2, tyrosine kinases targeted by Gleevec, Herceptin and first generation TKIs.

    Mega Tr. at 527:12-528:5; DTX-39.5; George Tr. at 598:24-599:13.

           55.    Exelixis’s experts agreed the prior art did not discourage targeting c-Met or testing

    c-Met inhibitors as potential cancer therapy. George Tr. at 606:3-11; MacMillan Tr. at 733:7-11.

           B.     Kirin Example 5 Would Have Been An Obvious Lead Compound

           56.    It is undisputed that a POSA motivated to develop therapies that target and inhibit

    c-Met would have selected a lead compound from the Kirin Publication. Lepore Tr. at 431:1-5;

    MacMillan Tr. at 735:10-13. This is because the Kirin Publication was the only prior art that

    disclosed specific exemplified small molecule c-Met inhibitors with corresponding bioactivity.

    Lepore Tr. at 430:20-25, 470:18-471:8. Dr. MacMillan agreed. MacMillan Tr. at 735:5-9.

           57.    While the general formula disclosed in the Kirin Publication could encompass

    millions of compounds, Dr. MacMillan admitted that a POSA would not have started with these

    millions of compounds to select a lead compound. MacMillan Tr. at 738:1-10.




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           58.     Instead, a POSA would have looked at the IC50 data for the 333 exemplary

    compounds in Table 2 of the Kirin Publication and would have evaluated the more potent

    compounds to select a lead compound. Lepore Tr. at 431:15-432:18; MacMillan Tr. at 725:5-19.

           59.     When selecting a lead compound, a POSA would have been motivated to minimize

    toxicity. Lepore Tr. at 418:22-419:5, 433:2-8.

           60.     The prior art taught thiourea compounds with similar structure to the Kirin

    Publication thiourea compounds were toxic. Lepore Tr. at 433:9-434:3, 436:22-437:11, 505:2-10;

    DTX-19.2.

           61.     For example, Onderwater 1998 taught that metiamide, a compound with a thiourea

    functional group, was removed from the market due to bone marrow toxicity. Lepore Tr. at 434:4-

    21; DTX-18.2. Metiamide, like Kirin Example 1 and other thiourea compounds in the Kirin

    Publication, contains a di-substituted thiourea functional group. Lepore Tr. at 434:22-435:10.

           62.     Further, the most toxic compound disclosed and tested in Onderwater 1998, the

    N, N’-diphenyl thiourea, is the most similar compound to the thiourea compounds in the Kirin

    Publication. Lepore Tr. at 435:11-436:21; DTX-18.8 (Table 2).

           63.     Dr. MacMillan agreed that some thiourea containing compounds were known to be

    toxic, and a POSA would not have been able to predict which thiourea compounds would be toxic.

    MacMillan Tr. at 743:9-744:4.

           64.     Further, Dr. MacMillan admitted, the compounds he referred to as examples of

    “thiourea containing drugs” are either not di-substituted (unlike the Kirin Publication thiourea

    compounds), an insecticide (used to kill insects), or a compound that did not come to market.

    MacMillan Tr. at 745:10-746:13.




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           65.    Thus, a POSA would have deprioritized the Kirin Publication compounds

    containing a thiourea functional group. Lepore Tr. at 437:12-20.

           66.    After deprioritizing the Kirin Publication thiourea compounds, a POSA would have

    evaluated the most potent non-thiourea compound: Example 269 (a malonamide compound).

    Lepore Tr. at 437:21-438:5. Dr. MacMillan agreed. MacMillan Tr. at 747:2-7.

           67.    A POSA would have recognized that Kirin Example 269 was potent (IC50 of 12.5

    nM), did not raise thiourea toxicity concerns, and had the potential for irreversible inhibition

    because it contained a malonamide group. Lepore Tr. at 438:6-15; MacMillan Tr. at 747:5-10.

           68.    As Dr. MacMillan admitted, a POSA would have also noted that the molecular

    weight of Kirin Example 269 was well over the Lipinski limit. MacMillan Tr. at 753:25-754:5.

           69.    Kirin Example 269 did not fit well with the Lipinski Rule of 5, because of its

    molecular weight and because its Log P value was at the limit set by the Rule of 5. Lepore Tr. at

    438:6-24. Therefore, a POSA would have continued to evaluate other potent compounds disclosed

    in the Kirin Publication to select as a lead compound. Lepore Tr. at 438:25-439:11.

           70.    A POSA would have evaluated the next potent non-thiourea compounds: two urea

    compounds and one malonamide compound (Kirin Example 5). Lepore Tr. at 438:25-439:11;

    DTX-6.20-50; DTX-6.387-89.

           71.    These three compounds all had comparable potency (IC50 of 15-20 nM), but the

    urea compounds did not present the same opportunity for irreversible inhibition. Lepore Tr. at

    438:25-439:11. Therefore, a POSA would have next evaluated Kirin Example 5 as a potential lead

    compound. Lepore Tr. at 438:25-439:11.

           72.    A POSA would have recognized that Kirin Example 5 did not raise thiourea toxicity

    concerns, had the potential for irreversible inhibition because it contained a malonamide group,




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    was the second most potent malonamide compound (IC50=18.9 nM), did not exceed any of the

    four criteria of the Rule of 5, and thus was predicted to have good oral bioavailability. Lepore Tr.

    at 439:12-25, 441:5-16.

           73.     As Dr. MacMillan admitted, Kirin Example 5 is one of the few compounds in the

    Kirin Publication with a molecular weight below the Lipinski cutoff. McMillan Tr. at 754:19-22.

           74.     Further, Dr. MacMillan agreed a POSA would have considered Kirin Example 5 to

    be a potent c-Met inhibitor. MacMillan Tr. at 741:1-11.

           75.     While Kirin Example 5 is not one of the “most preferred” compounds in the Kirin

    Publication, Dr. MacMillan agreed a POSA would not have been limited to the five “most

    preferred” compounds when selecting a lead. MacMillan Tr. at 749:7-13, 750:2-8.

           76.     When selecting a lead, a POSA would have prioritized Kirin Example 5, a

    “particularly preferred” compound, over the “most preferred” compounds, Kirin Examples 1, 2, 3,

    11, and 268. Lepore Tr. at 440:1-17; DTX-6.50. This is because Kirin Examples 1, 2, and 268 are

    thiourea compounds that would have raised toxicity concerns. Lepore Tr. at 440:18-21. Kirin

    Examples 3, 11, and 268 were less potent than Kirin Example 5. Lepore Tr. 440:22-441:4; see also

    MacMillan Tr. at 757:22-24. And Kirin Example 11 was not fully compatible with the Rule of 5.

    Lepore Tr. at 440:22-441:4.

           77.     Thus, Kirin Example 5 was an obvious lead compound from among a small and

    finite number of potent compounds disclosed in the Kirin publication. Lepore Tr. at 441:5-16.

           C.      A POSA Would Have Been Motivated To Modify Kirin Example 5 And
                   Prepare Cabozantinib With A Reasonable Expectation Of Obtaining A c-Met
                   Inhibitor

           78.     A POSA would have been motivated to modify Kirin Example 5 because the data

    disclosed in Williams suggested that a malonamide containing compound (e.g., Kirin Example 5)




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    could potentially convert into a very small amount of an unstable form. Lepore Tr. at 441:25-

    442:15, DTX-23.2; see also Mann Tr. at 266:7-20; Bannen Tr. at 262:24-263:9.

           79.     Dr. MacMillan agreed with this potential stability issue and agreed that a POSA

    would have been motivated to make a more stable compound. MacMillan Tr. at 758:13-759:5.

           80.     To address this potential issue, a POSA would have been motivated to replace the

    two carbon-hydrogen bonds in the middle of the malonamide group. Lepore Tr. at 442:16-24.

           81.     When modifying Kirin Example 5, a POSA would have been guided by Lipinski’s

    Rule of 5. Lepore Tr. at 442:25-443:7.

           82.     Thus, a POSA would have chosen a group that does not add hydrogen bond donors

    or hydrogen bond acceptors, and a small group that does not unduly increase the molecular weight

    of the compound. Lepore Tr. at 443:8-444:4. These considerations would have led a POSA to

    replace the two hydrogens with two carbons connected to each other with a bond, thus forming a

    geminal cyclopropyl group. Id.

           83.     Introducing the geminal cyclopropyl group would have addressed Kirin Example

    5’s potential instability issue. Lepore Tr. at 444:9-15; Bannen Tr. at 263:13-20.

           84.     Dr. MacMillan agreed that cyclopropyl was one of the groups a POSA could have

    added to Kirin Example 5. MacMillan Tr. at 762:12-18.

           85.     Thus, a POSA would have been motivated to incorporate a geminal cyclopropyl

    group into Kirin Example 5 “mainly as a blocking” group, to address the potential instability issue.

    Lepore Tr. at 449:4-9.

           86.     Further, a POSA would have recognized that introducing a geminal cyclopropyl

    group had the additional potential of creating an irreversible inhibitor, which would have further

    motivated a POSA to perform this modification. Lepore Tr. at 443:24-444:1, 444:5-8. First, the




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    prior art taught several advantages of irreversible inhibitors, such as reducing the amount and

    frequency of doses and reducing undesired side effect. Lepore Tr. at 444:16-445:3.

           87.     Further, Kelner taught MGI 114, a cyclopropyl containing compound, was in phase

    II clinical trial for treating solid tumors, and McMorris taught a mechanism by which such

    compounds irreversibly inhibited their biological targets. Lepore Tr. at 445:16-447:5, DTX-27.1

    (Abstract, Figure 1), DTX-25.4 (Scheme 1). A POSA would have understood that a geminal

    cyclopropyl analog of Kirin Example 5 could similarly irreversibly inhibit c-Met, assuming c-Met

    had a properly located nucleophile (“molecular hook”). Lepore Tr. at 447:6-16, 461:3-6.

           88.     Thus, the “secondary benefit” of creating a potential irreversible inhibitor would

    have further motivated a POSA to incorporate a geminal cyclopropyl group into Kirin Example

    5. Lepore Tr. at 449:9-12.

           89.     Table 2 of the Kirin Publication disclosed that compounds with geminal dimethyl

    substitutions on the malonamide group (e.g., Kirin Example 104) inhibited c-Met. Lepore Tr.

    at 448:2-20; DTX-6.387. It is undisputed that a geminal cyclopropyl is smaller than a geminal

    dimethyl group. Lepore Tr. at 448:12-13; MacMillan Tr. at 764:13-16. Thus, a POSA would have

    reasonably expected the geminal cyclopropyl analog of Kirin Example 5 (i.e., cabozantinib) would

    continue to inhibit c-Met. Lepore Tr. at 448:2-449:3, 449:12-16.

           90.     While Dr. MacMillan speculated that a geminal cyclopropyl substitution could

    reduce the potency of Example 5, MacMillan Tr. at 709:21-13, 709:23-711:4, he did not testify

    that a POSA would have expected this substitution to cause the molecule to stop inhibiting c-Met.

           91.     While a POSA could not have guaranteed the development of a successful cancer

    drug, as Dr. MacMillan admitted, this would not have stopped a POSA from selecting and testing




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    lead compounds, or from trying to develop a compound that would be successful. MacMillan Tr.

    at 728:3-20.

           92.     Thus, a POSA would have had a reasonable expectation of success in modifying

    Kirin Example 5 to arrive at cabozantinib, the compound claimed in the asserted claim 5 of the

    ’473 patent. Lepore Tr. at 447:21-449:2.

           D.      There Are No Objective Indicia That Support Non-Obviousness

                   1.      Cabozantinib has not satisfied a long-felt, unmet need

           93.     At trial, Exelixis did not clearly identify the long-felt unmet need that cabozantinib

    has allegedly met. At one point, Dr. George testified that cabozantinib has met a long-felt unmet

    need for improved therapy options over chemotherapy. George Tr. at 606:12-18. But he admitted

    that Cabometyx (which contains cabozantinib as the active ingredient) does not “fully fill [this]

    unmet need,” and that it only “fills it in part.” George Tr. at 606:19-24; id. at 588:12-14 (testifying

    that some patients cannot tolerate Cabometyx). Thus, cabozantinib has not met this need.

           94.     At another point, Dr. George testified that cabozantinib has met a long-felt unmet

    need for “new” or “more” options for treating RCC, HCC, and thyroid cancers. George Tr. at

    572:24-573:21. It is, however, undisputed that there is still a need for new, additional, and

    improved treatment options for these cancers. George Tr. at 611:10-13, 612:15-17, 542:21-543:3,

    543:9-16, 543:25-544:6; Mega Tr. at 795:10-19, 795:20-796:11, 797:16-23, 798:14-20. Thus,

    cabozantinib has not satisfied this need.

           95.     While cabozantinib provided another treatment option for some renal,

    hepatocellular, and thyroid cancers, it was neither the first, nor the only, TKI available to treat

    these conditions. For example, the TKI pazopanib was approved to treat RCC prior to the approval

    of Cabometyx in 2016, which was originally approved as a second-line treatment. George Tr. at

    612:23-613:7; D.I. 275-1 (Uncontested Facts) at ¶¶ 53, 57. Axitinib and sorafenib, which are


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    TKIs, and everolimus were also all available as second-line RCC treatments before Cabometyx

    was approved as a second-line treatment for RCC in 2016. George Tr. 613:8-17.

           96.     When Cabometyx was approved as a second-line treatment for HCC, in 2019, (D.I.

    275-1 at ¶ 59), sorafenib had already been approved as a second-line HCC treatment for HCC.

    George Tr. at 613:21-614:1. Regorafenib was also approved as a second-line HCC treatment prior

    to Cabometyx. George Tr. at 614:2-6.

           97.     Similarly, when Cabometyx received approval for the treatment of DTC in 2021,

    (D.I. 275-1 at ¶ 61) lenvatinib and sorafenib were already both approved to treat DTC. George Tr.

    614:10-18.

           98.     And, vandetanib was already available to treat MTC, (id. at 614:24–615:5) when

    Cometriq was approved to treat it in 2012. D.I. 275-1 at ¶¶ 62, 65.

           99.     The fact that additional treatment options entered the market for treating RCC after

    cabozantinib further shows cabozantinib did not satisfy a long-felt un-met need. For example,

    nivolumab, the first immunotherapeutic agent, received FDA approval after cabozantinib. Mega

    Tr. at 788:15-24. The focus in the RCC treatment field then changed to combination therapies that

    combined immunotherapeutic agents or a TKI and an immunotherapeutic agent. Mega Tr. at

    788:15-24. In general, the treatment options approved after cabozantinib in general show improved

    outcomes compared to cabozantinib. Mega Tr. at 788:25-789:3.

           100.    Thus, it is not surprising that cabozantinib is not the only available or “preferred”

    treatment option for treating RCC. For example, the November 2021 NCCN Guidelines for

    treating kidney cancers show other “preferred” options in addition to treatment regimens including

    cabozantinib in both the first line and the subsequent line categories for treating clear cell RCC.

    Mega Tr. at 791:19-792:7, 793:8-795:9; DTX-118.14. Dr. George agreed. George Tr. at 610:13-




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    611:5. Notably, the other “preferred” treatment options are supported by the same, or higher, levels

    of evidence and consensus compared to those containing cabozantinib. Mega Tr. at 793:8-22,

    795:1-9.

           101.    The NCCN Guidelines’ “preferred” treatment options for patients with non-clear

    RCC are sunitinib, cabozantinib, and clinical trials. Mega Tr. at 795:20-796:11; DTX-118.15. Dr.

    George agreed. George Tr. at 611:3-9. The inclusion of clinical trials as one of the “preferred”

    treatment options further supports there is still a need for safe and effective treatment for patients

    with non-clear RCC. Mega Tr. at 795:20-796:11; DTX-118.15.

           102.    Dr. George testified that around 13,000 patients died of RCC in 2021. George Tr.

    at 542:25-543:3. This further supports that there is still a need for new, additional, or improved

    treatment options for treating patients with RCC. Mega Tr. at 795:10-19, 807:6-11.

           103.    The September 2021 NCCN Guidelines for treating liver cancers show

    cabozantinib did not satisfy a need for treating HCC. First, cabozantinib is not listed as a first line

    “preferred” or “other recommended” treatment option for treating HCC. Mega Tr. at 796:19-797:7;

    DTX-124.24.

           104.    Further, cabozantinib is not the only subsequent line “preferred” treatment option

    for treating HCC supported by category 1 evidence in the NCCN Guidelines. Mega Tr. at 797:8-

    15, DTX-124.24. Dr. George agreed. George Tr. at 612:10-14.

           105.    Dr. George testified that around 30,000 patients died from HCC in 2021. George

    Tr. at 543:13-16. As Dr. Mega testified, these numbers, which are expected to rise, further show

    there is still a need for new, additional, or improved options for treating patients with HCC. Mega

    Tr. at 797:16-23.




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           106.    Turning to the differentiated thyroid cancer, cabozantinib is not indicated as a first

    line therapy, and is not the only treatment option in the second line space. Mega Tr. at 797:24-

    798:13 (testifying about other therapies that are available (such as BRAF) for patients with certain

    mutations).

           107.    Dr. George testified that around 2,000 patients died from thyroid cancer in 2021.

    George Tr. at 544:4-6. As Dr. Mega testified, metastatic thyroid cancers, which can afflict younger

    people, remains incurable. Mega Tr. at 798:14-20. Thus, there is still a need for new, additional,

    or improved treatment options for treating patients with thyroid cancers. Mega Tr. at 798:14-20.

           108.    Thus, Exelixis has not shown cabozantinib satisfied any long-felt unmet need.

                   2.      Exelixis has not shown failure of others

           109.    At trial, Exelixis attempted to present evidence that cabozantinib’s approval as a

    subsequent line therapy shows failure of others. George Tr. at 577:19-25. Exelixis, however, failed

    to proffer evidence that could support nonobviousness of the asserted claim 5 of the ’473 patent.

           110.    First, Dr. George admitted he has not identified any failed attempt to synthesize

    cabozantinib or a its salt, the recited elements in claim 5. George Tr. at 616:6-11.

           111.    Dr. George also admitted he did not know why compounds disclosed in the Kirin

    Publication did not advance to market. George Tr. at 615:24-616:5.

           112.    Further, others did not fail in developing safe and effective therapies for treating

    cancers cabozantinib is indicated for. To the contrary, sorafenib, vandetanib, sunitinib, pazopanib,

    regorafenib, and lenvatinib, were developed before cabozantinib, and received FDA approved

    before cabozantinib. Mega Tr. at 798:21-799:19, 787:25-788:6.

           113.    Dr. George agreed that sunitinib, pazopanib, sorafenib, and vandetanib were

    disclosed in the prior art and were FDA approved before cabozantinib. George Tr. at 607:4-12,

    612:24-613:2, 613:5-8, 613:22-614:2, 614:25-615:6.


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           114.    Cabozantinib’s approval as subsequent line therapy for treating certain cancers does

    not show failure of others. Mega Tr. at 799:13-19. For example, there are several other subsequent

    line treatment options available and recommended by the NCCN Guidelines for treating RCC and

    HCC. Mega Tr. at 799:13-19; see above at ¶¶ 92-93.

           115.    Further, like other available treatments, resistance develops in most patients treated

    with cabozantinib, who would subsequently need other treatment options. Mega Tr. at 787:25-

    788:6, 808:1-17, 816:6-17.

                   3.     Exelixis has not shown commercial success

           116.    At trial, Exelixis attempted to present evidence that Cabometyx (which contains

    cabozantinib as the active ingredient) is a commercial success. Tate Tr. at 631:13-17. For the

    reasons explained below, Exelixis failed to present evidence supporting this conclusion.

           117.    Mr. Tate, Exelixis’s expert, admitted that evidence of commercial success is

    relevant to nonobviousness because the law presumes an idea would have been successfully

    brought out to market sooner in response to market forces had the idea been obvious to a POSA.

    Tate Tr. at 649:23-650:4.

           118.    Dr. McDuff testified that Mr. Tate’s conclusion that Cabometyx is a commercial

    success was not supported by any analysis addressing the core question of whether others would

    have developed a product sooner in response to market forces. McDuff Tr. at 770:10-21.

           119.    Specifically, Mr. Tate’s analysis (i) lacked “comparisons to other products,” (ii)

    lacked “evaluation of commercialization costs to bring the product to market,” and (iii) relied on

    “uninformative market shares.” McDuff Tr. at 770:22-771:4, 771:8-772:12; DTX-231.3.

           120.    With respect to the first shortcoming, Dr. McDuff testified that “there’s no basis of

    comparison to know whether these sales are high, low, or somewhere in between,” McDuff Tr. at

    772:13-25. Exelixis should have provided comparisons to “other pharmaceutical products, other


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    cancer products, other kidney cancer or liver cancer products, projections . . . any comparison at

    all.” McDuff Tr. at 773:1-5. Instead, Mr. Tate admitted that he did not compare profits or revenue

    of Cabometyx to the profits or revenue of any other product in the market. Tate Tr. at 644:20-23,

    650:5-20.

           121.    Regarding the second shortcoming, Mr. Tate did not properly evaluate

    commercialization costs. As Dr. McDuff testified, Mr. Tate did not conduct any “analysis at all of

    the costs that were incurred between 2003 and 2016.” McDuff Tr. at 774:22-775:4.

           122.    Mr. Tate’s analysis beginning at the time of launch (2016) applied the “wrong

    perspective,” because it fails to address whether others would have sought to develop this product

    before September 2003. McDuff Tr. at 775:5-21.

           123.    As Dr. McDuff testified, it is common to evaluate commercialization costs in the

    pharmaceutical industry both by businesses and in the academic publication. McDuff Tr. at 774:4-

    9. This is supported by the DiMasi and Grabowski textbook which shows a typical life cycle of a

    drug product includes an investment phase (shown on the left side of Figure 2.11), and the profits

    and sales that are earned after a product is launched (shown on the right side of Figure 2.11). DTX-

    200.21; McDuff Tr. at 774:10-23.

           124.    Mr. Tate admitted that he did not take into account the research and development

    cost when analyzing the profitability of Cabometyx, Tate Tr. at 650:5-10, despite the fact that the

    research and development OPEX has increased every year since Cabometyx was first launched,

    Tate Tr. at 653:20-654:2, and that research and development cost was the largest cost associated

    with Cometriq and Cabometyx as February 2022. Tate Tr. at 649:19-22.




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           125.    Regarding the third shortcoming, Dr. McDuff testified that Mr. Tate’s analysis

    “provides no guidance” on whether Cabometyx’s market share is high or low, and whether the

    product is a commercial success. McDuff Tr. at 778:15-779:6.

           126.    For example, Mr. Tate referred to PTX-363. Tate Tr. at 633:6-634:19. But, as Dr.

    McDuff testified, Mr. Tate’s testimony regarding PTX-363 did not show that Cabometyx has a

    market share of 38% in the RCC market because “[t]here are many more products that are used to

    treat RCC in addition to these four that are more than a dozen, in Mr. Tate’s report,” and because

    the data on prescriptions is broken down by product, not indication. McDuff Tr. at 776:11-777:3.

           127.    Instead, PTX-822.3 showed the total RCC market and that Cabometyx’s market

    share is “declining over time, and as of the last quarter on the chart, it’s around 11 percent.”

    McDuff Tr. at 777:8-778:6.

           128.    Similarly, PTX-822.5 showed the first-line treatment for the RCC market and that

    Cabometyx’s market share “is declining. And it declines to about 5 percent as of the latest quarter

    with data.” McDuff Tr. at 778:7-12.

           129.    Dr. McDuff testified that Cabometyx does not have 100 percent market share for

    treating differentiated thyroid cancer, but it is the only product with “the exact . . . indication as

    Cabometyx.” McDuff Tr. at 778:15-24.

           130.    Dr. McDuff also testified that Mr. Tate’s testimony that PTX-364 shows 34,000

    patients have been treated with Cabometyx is “not a helpful number for knowing whether others

    would have developed this product sooner” because it lacks context. McDuff Tr. at 779:11-24.

           131.    In sum, Dr. McDuff testified that Mr. Tate’s analysis does not answer the question

    of whether others would have developed the product at issue sooner had it been obvious because




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    Mr. Tate’s analysis of sales, return on investment, and market shares are “very limited.” McDuff

    Tr. at 779:25-780:16.

                   4.       Exelixis has not shown cabozantinib’s inhibition profile would have
                            been unexpected

           132.    At trial, Exelixis attempted to present evidence that cabozantinib’s inhibition

    profile would have been unexpected. George Tr. at 579:8-13, 615:14-16.

           133.    Dr. George, however, admitted that he has not compared cabozantinib’s inhibition

    profile to the inhibition profile of Kirin Example 5, or any other compounds disclosed in the Kirin

    Publication. George Tr. at 615:17-23.

           134.    Further, Exelixis’s experts admitted that a compound’s ability to inhibit multiple

    tyrosine kinases is an inherent property of the compound, McMillan Tr. at 731:21-732:3, which is

    a property a POSA would have been able to test before September 2003. George Tr. at 593:5-16.

           135.    Thus, Exelixis has not shown that cabozantinib’s inhibition profile would have been

    unexpected in view of the prior art. Lepore Tr. at 451:10-23.

                   5.       Simultaneous invention supports obviousness

           136.    Dr. Lepore testified that the prior (near simultaneous) and independent invention of

    compounds in the Kirin Publication that are similar to cabozantinib (e.g., Kirin Example 5) is

    objective evidence of obviousness. Lepore Tr. at 451:24-452:10.

           137.    Exelixis did not offer any evidence on this issue.




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